         Case 23-11865-amc                     Doc       Filed 05/09/25 Entered 05/09/25 07:42:18                              Desc Main
 Fill in this information to identify the case:          Document      Page 1 of 7
 Debtor 1              __________________________________________________________________


 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

 United States Bankruptcy Court for the: __________ District of __________

 Case number            ___________________________________________




                               410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


 Name of creditor: _______________________________________                           Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                              Date of payment change:
 identify the debtor’s account:                          ____ ____ ____ ____         Must be at least 21 days after date        _____________
                                                                                     of this notice


                                                                                     New total payment:                         $ ____________
                                                                                     Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
           No
           Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                __________________________________________________________________________________________________

                   Current escrow payment: $ _______________                       New escrow payment:         $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
           No
           Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:         _______________%                 New interest rate:          _______________%

                   Current principal and interest payment: $ _______________      New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
           No
           Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                     New mortgage payment: $ _______________


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Debtor 1         _______________________________________________________                       Case number (if known) _____________________________________
                 First Name      Middle Name              Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

           I am the creditor.

           I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



     _____________________________________________________________                             Date    ___________________
     Signature




 Print:             _________________________________________________________                  Title   ___________________________
                    First Name                      Middle Name         Last Name



 Company            _________________________________________________________



 Address            _________________________________________________________
                    Number                 Street

                    ___________________________________________________
                    City                                                State       ZIP Code



 Contact phone      ________________________                                                   Email ________________________




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                             UNITED STATES BANKRUPTCY COURT


 IN RE:                                          Case No.
                                                 Judge
                                                 Chapter 13



                                 CERTIFICATE OF SERVICE OF
                             Notice of Mortgage Payment Change

  I, the undersigned, hereby certify that, on        , a true and correct copy of the Notice
of Mortgage Payment Change was electronically served upon the following using the
CM/ECF system:

          Attorney:
Trustee:
Office of the United States Trustee

  Further, I certify that, on          , a true and correct copy of the Notice of Mortgage
Payment Change was forwarded via U.S. Mail, first class postage prepaid and properly
addressed, to the following at the address shown below:




                                                            By: /s/ Christine Kinderdine
                                                             Christine Kinderdine
                                                            PNC Bank, N.A.
                                                            3232 Newmark Drive
                                                            Miamisburg, OH 45342
                                                            866 754 0659
